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(Post 9/2015)




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                                                                                        U.S. DISTRICT COURT

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                                 for the Eastern District ofArkansas                       AUG 12 2 □ 2 2

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     UNITED STATES OF AMERICA                                                 ~ j •2          PLAINTIFF
                                                                    if: ffClt~-ool
                vs.                           CaseNo.   Z)g~O
                                                                                          DEFENDANT



                                       NOTICE OF APPEAL

                Notice is hereby given that   ~ bWY) Bo x/~njitppeals to the United States Court of
    Appeals for the Eighth Circuit from the: ~ment & dommitment ~der                   ~-tJO 'VJ 1c.-:hl) O
    entered in this action on /.___   ::;,tt J2;j _
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    Signature of Defendant's Counsel                          Typed Name of Defendant's Counsel


    Street Address                    Room Number             Telephone Number


    City                     State                Zip         Date
        Case 4:19-cr-00212-JM Document 101 Filed 08/12/22 Page 2 of 2




                                 CERTIFICATE OF SERVICE


       I do hereby certify that a copy of the foregoing Notice of Appeal has been provided to the

following on this    /   /?,   day of   A~ , ::Z-:2,       20




                                            Signature of Defendant's Counsel




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